IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN
MILWAUKEE DIVISION

 

ANDREW L. COLBORN,

NETFLIX, INC., Case No. 19-CV-484
CHROME MEDIA, LLC, f/k/a

SYNTHESIS FILMS, LLC,

LAURA RICCIARDI, and

MOIRA DEMOS,

Defendants.

 

SECOND AMENDED COMPLAINT

 

Plaintiff, Andrew L Colborn, by and through his attorneys, the Law Firm of Conway,
Olejniczak & Jerry, S.C., Griesbach Law Offices, LLC, and Schott, Bublitz and Engel, S.C., as
and for his Amended Complaint against the above-named Defendants, alleges and shows the
Court as follows:

Parties
1. Plaintiff, Andrew L. Colborn, is an adult residing in Manitowoc County, Wisconsin.

2. Netflix, Inc. is a foreign corporation authorized to do business in the state of Wisconsin
with a principal place of business located at 100 Winchester Circle, Los Gatos, California 95032.
3. Chrome Media, LLC is a foreign corporation domiciled in New York with a principal

place of business located at 15821 Ventura Boulevard, Suite 500, Encino, California 91436.
4. Chrome Media, LLC is an independent film production company founded by Defendants
Laura Ricciardi and Moira Demos in 2006.

5. Chrome Media, LLC was formerly known as Synthesis Films, LLC.

EXHIBIT

  

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6. Laura Ricciardi is an adult residing in California.

7. Moira Demos is an adult residing in California.

8. Defendants Laura Ricciardi and Moira Demos have ownership interest in Chrome
Media, LLC, formerly known as Synthesis Films, LLC. They also are executive producers of
“Making a Murderer 1” and “Making a Murderer 2” and filmed said production while attending
the trial of Steven Avery in Manitowoc County.

Statement of the Facts

9. Plaintiff Andrew L. Colborn was employed as a corrections officer with the Manitowoc
County Sheriff’s Department from 1992 through 1996.

10. In his capacity as a corrections officer, he was a non-sworn, non-law enforcement officer
and had responsibility for security of the jail.

11. Beginning in 1996, Plaintiff Andrew L. Colborn became a sworn law enforcement
officer employed with the Manitowoc County Sheriff’s Department.

12. For the years 2005 through 2007 and at all times material hereto between 2005 and
2007, Plaintiff Andrew L. Colborn was a patrol Sergeant with the Manitowoc County Sheriffs
Department (hereinafter “MTSO”). Plaintiff Andrew L. Colborn was also a trained evidence
technician.

13. On October 31, 2005, 25-year-old freelance photographer, Teresa Halbach, was brutally
murdered at the Avery Salvage Yard in rural Manitowoc County, Wisconsin. Overwhelming
physical and circumstantial evidence proves that Steven Avery and his 16-year-old nephew,
Brendan Dassey, were the perpetrators of the crime. Neither Plaintiff nor any other law

enforcement officer planted evidence or in any other way attempted to frame Avery or Dassey

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for Halbach’s murder. Separate juries returned guilty verdicts against each of them in 2007 and
their convictions remain unreversed after numerous appeals.

14. In 1985, two decades before murdering Halbach, Avery was wrongfully convicted of
physically and sexually assaulting a woman on a remote stretch of Lake Michigan’s shoreline in
Manitowoc County. Avery served 18 years of a 32-year prison sentence before DNA testing
revealed that another man was the assailant. Under new leadership, the Manitowoc County
District Attorney’s office promptly stipulated to Avery’s release.

15. On December 18, 2015, Defendant Netflix released for worldwide distribution a ten-part
documentary series entitled, “Making a Murderer” (hereinafter, MAM). The series purports to
objectively and accurately recount Avery and Dassey’s arrest and conviction for Halbach’s
murder. Within 35 days of its release, 19.3 million viewers had watched MAM worldwide. Ina
January 16, 2016 article, Forbes magazine columnist Paul Tassi described the program as
“Netflix’s most significant show ever.’ MAM has remained in the national and international
spotlight since its debut with renewed interest upon the recent release of “Making a Murderer
Part 2.” The original series and its sequel continue to be marketed worldwide and remain
available on Netflix for subscribers today.

16. MAM was and continues to be marketed as a non-fiction documentary. No disclaimer
appears in any of the ten episodes notifying viewers that the series is anything but an actual and
accurate portrayal of events. In news and entertainment media interviews since the program’s
release, Defendants Ricciardi and Demos have repeatedly avowed that they were unbiased and
objective in their re-telling of events, holding the film out as a non-fiction piece. MAM won
four Emmy Awards, including “outstanding directing for nonfiction programming” and

“outstanding writing for nonfiction programming.” It also won the 2017 Cinema Eye Honors

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Award for “outstanding achievement in nonfiction films made for television.” Netflix also
accepted other awards for writing and editing MAM.
https://www.imdb.com/title/tt5189670/awards And its employees were congratulated by
members of the media for their role in defining a new television genre.
https://www.huffpost.com/entry/netflix-is-making-a-
murde_b_9074076?guccounter=1 &guce_referrer=aHROCHMO6Ly93d3cuaH VmZnBvc3 Quy 29tL
3RvcGljiL3RIZC1zYxXJhbmRvew&guce_referrer_sis=AQAAADSCTXLbOxR8N20qHHxSMW
ZJbNr75b615rqx 7WKo360g0ezTCONP9CO_HYHOsgHtrMcVotNgLsJfha8H4yY ctyCnbpzi4mOE
Pzw_cJ5d7J Vubua8vimd5p3uZ4DMhO _i6gj2pj9kHRHh3cMm8t_MXR5vPbue4G9r3NF-
cNqUvjiTH

17. Netflix employees were producers of several episodes of MAM. Netflix employees
who were involved in MAM have made numerous statements to the press regarding their
involvement. Further, Defendants Demos and Ricciardi have publicly discussed Netflix
representatives’ collaboration with them. See, e.g,
https://www.nytimes.com/2018/10/1 7/arts/television/making-a-murderer-behind-the-scenes. html
One of the producers of several MAM episodes, who is also the Netflix representative to whom
Demos and Ricciardi apparently pitched the series, described her collaboration with Demos and
Ricciardi in aligning their vision for the broadcasts as a “mind meld.”
https://www.vanityfair.com/hollywood/2018/06/lisa-nishamura-netflix-documentary-wild-wild-
country _

18. Upon information and belief, Demos and Ricciardi only had three episodes in “rough
cut” when they pitched MAM to Netflix. https://www.businessinsider.com/making-a-murderer-

filming-process-netflix-2016-1. The series as produced and distributed contains 10 episodes that

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were far from rough in their production. Netflix’s processes in developing and vetting shows,
including documentaries, from production through post-production involves a high degree of
involvement from numerous sections of the Netflix workforce. https://medium.com/netflix-
techblog/studio-production-data-science-646ee2cc21al (flow chart diagramming processes). :
Netflix maintains an entire job site on which it advertises for employees whose tasks are to assist
in content development for shows that debut on its service. https://jobs.netflix.com/ Among
other positions, Netflix maintains a position that includes legal review of content to be broadcast
on its service. https://jobs.netflix.com/jobs/868145 Upon information and belief, the final
MAM product was shaped with the involvement of Netflix content and creative personnel,
including, but not limited to, its Chief Content Officer and its head of documentary
programming, and it was subject to legal review by Netflix employees prior to its release.

19. At no time during plaintiff's employment at MTSO did he serve as a spokesperson for

 

Avery-case-andthe-release-of MAM. As such, he is neither a “public figure” nor a “limited

purpose public figure,” as those terms are defined in defamation law.

20. Pertinent and significant aspects of MAM are not true as represented and are, instead,
false and defamatory toward Plaintiff and others. Material and significant facts known to the
Defendants were omitted and distorted. Despite overwhelming evidence proving Avery and
Dassey’s guilt and the utter absence of evidence supporting Defendant’s accusations of police
misconduct, Defendants falsely led viewers to the inescapable conclusion that Plaintiff and
others planted evidence to frame Avery for Halbach’s murder. Defendants omitted, distorted,

and falsified material and significant facts in an effort to portray Plaintiff as a corrupt police

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officer who planted evidence to frame an innocent man. Defendants did so with actual malice
and in order to make the film more profitable and more successful in the eyes of their peers,
sacrificing and defaming the Plaintiff's character and reputation in the process.

21. Attached as Exhibit A, incorporated herein by reference, are excerpts from Making a
Murderer Episodes 1 — 10 which depict numerous inaccuracies in facts and therefore defame
plaintiff. These are in addition to defamatory statements that are further described below.

22. Attached as Exhibit B, and incorporated herein by reference, is a transcription of
excerpts of Plaintiff's trial testimony that were included in MAM Episodes 5 and 7 but that were
significantly altered, as indicated on the exhibit, so as to present a false impression of Plaintiff's
testimony and to falsely put words in his mouth and omit others.

1994 or 1995 Telephone Call and Subsequent Alleged Cover-Up

23. Defendants Ricciardi and Demos, acting jointly and in concert with the other
Defendants, led viewers to falsely conclude that Plaintiff learned of Avery’s 1985 wrongful
conviction approximately eight years before he was released, but covered it up. By doing so,
Defendants created a false motive for Plaintiff to plant evidence, making their central but false
claim that Plaintiff and other police officers framed Avery more believable.

24. In 1994 or 1995, while working as a corrections officer at the Manitowoc County Jail
during normal business hours, Plaintiff answered a telephone call from a detective in another
jurisdiction. The detective asked to speak with a Manitowoc County detective about an assault
that occurred many years earlier in Manitowoc County. A jail inmate supposedly had told a
fellow inmate that he was responsible for an assault for which another man was convicted.

Plaintiff does not believe the caller mentioned the name of the man convicted or the name of the

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victim in the Manitowoc County assault. Ifhe did, Plaintiff was wholly unfamiliar with the
names.

25. Plaintiff had no reason to and did not know about Avery’s 1985 sexual assault
conviction when he received the phone call from the detective. He was not employed by MTSO
until 1992, when he was hired as a corrections officer at the Manitowoc County Jail, which was
and remains a separate division within MTSO. As a corrections officer, Plaintiff was not a
sworn law enforcement officer and had no authority to conduct investigations, much less dated
criminal activity for which a conviction had already been obtained. Doing so would have been a
violation of department policy. Accordingly, Plaintiff transferred the call to the Investigations
Unit after giving the caller the number in case the call went unanswered or was lost in the
transfer. Plaintiff subsequently heard that higher-ups at MTSO had given assurances that the
right man had been convicted. Plaintiff had no reason to think otherwise until Avery was
exonerated by DNA testing in 2003. Given all of the above circumstances, there was no reason
for Plaintiff to prepare a written report about the call at the time.

26. Plaintiff first learned of Avery’s wrongful conviction in September of 2003 when Avery
was exonerated by DNA testing. At that time Plaintiff recalled the 1994 or 1995 telephone call
and surmised it may have been related to the Avery case. At the direction of Sheriff Ken
Petersen, Plaintiff prepared a written statement memorializing the call as part of Petersen’s effort
to provide a complete, accurate, and transparent account of the circumstances surrounding
Avery’s wrongful conviction for consideration by the Wisconsin Attorney General in her
independent review. Plaintiffs written statement was promptly delivered to the Attorney

General along with all other documents pertaining to her review.

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27. Defendants Ricciardi and Demos strategically spliced and omitted portions of Plaintiff's
trial testimony as set forth in Exhibit A and B, incorporated by reference herein, to distort the
facts and nature of the 1994 or 1995 telephone call. These omissions and distortions led viewers
to falsely conclude that Plaintiff bears responsibility for seven or eight of Avery’s 18 years of
wrongful imprisonment, providing him with a motive to frame Avery for Halbach’s murder.

28. For the same purposes, Defendants Ricciardi and Demos included in the second episode
of MAM an interview of Steven Glynn, one of Avery’s attorneys in his wrongful conviction
lawsuit. Glynn expresses dismay that Plaintiff did not prepare a report concerning the call he
received in 1994 or 1995 until Avery was exonerated in 2003. Glynn then mistakenly tells
viewers that Plaintiffs written statement was kept hidden in a Sheriffs department safe in 2003
as part of Plaintiff and MTSO’s effort to cover up their knowledge of Avery’s wrongful
conviction, when in fact the statement had been delivered to the attorney general promptly after
it was prepared.

29. Upon information and belief, Defendants knew Plaintiffs written report concerning the
phone call was not left in the Sheriff’s safe but chose to include Glynn’s mistaken belief in order
to further their false narrative. Defendants included extensive excerpts of videotaped depositions
in Avery’s wrongful conviction lawsuit in MAM and, upon information and belief, reviewed the
depositions from the lawsuit in their entirety to determine which portions to include. The
depositions included extensive questioning of Plaintiff, Sheriff Petersen, and others concerning
the 1994 or 1995 telephone call and Plaintiff’s documentation of same in 2003. No reasonable
person could have concluded from a review of the depositions and the trial testimony that there
was anything nefarious about Plaintiffs response to the call or his documentation of same after

Avery was exonerated. Nor could any reasonable person have concluded that Plaintiff’s report

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was left hidden in a safe as part of a cover-up for MTSO wrongdoing. Yet Defendants distorted
the facts to provide viewers a false motive for Plaintiff to plant evidence and frame Avery for
Halbach’s murder.

Plaintiff’s Call to Dispatch

30. On November 3, 2005, Teresa Halbach’s mother reported to the Calumet County
Sheriff's Department that her daughter was missing. Police in Calumet County believed that
Teresa’s last known whereabouts were either at the George Zipperer residence or the Avery
Salvage Yard, both located in Manitowoc County. Halbach had been assigned by her employer,
Auto Trader Magazine, to take photos of vehicles that were for sale at each location on October
31, 2005, the last day she had been seen. Calumet County officers requested assistance from
MTSO since Halbach’s last known whereabouts were in Manitowoc County.

31. On November 3, 2005, Plaintiff Andrew Colborn was working a regular shift as a patrol
sergeant with the Manitowoc County Sheriff’s Department when he received a call from
Calumet County requesting assistance with a missing person. That evening, Plaintiff was asked
to check out two potential residences where Halbach reportedly had been, “the Avery Salvage
Yard and the Zipperer residence.”

32. On November 3, 2005, Plaintiff called dispatch to confirm the make and model and
license plate number of the missing person’s vehicle as he had done in hundreds of other cases
during his career. Neither Plaintiff nor any other police officer had contact with Halbach’s
vehicle on November 3", or any other time prior to November 5" when it was discovered at the
Avery Salvage Yard by a volunteer search party.

33. A central part of Avery’s defense at trial was that Plaintiff and other Manitowoc officers

planted Halbach’s SUV at the Avery Salvage Yard where Avery resided in a house trailer. With

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Plaintiff on the stand, Avery’s attorneys played portions of his call to dispatch in an effort to
convince jurors that he came upon the SUV at an undisclosed location on November 3", two
days before it was found at the salvage yard. Cross examining Plaintiff about the contents of the
call, Avery’s attorneys suggested that Plaintiff was looking directly at Halbach’s vehicle when he
called dispatch. The claim is entirely baseless and false, and Defendants knew of its falsity.

34. A side by side comparison of the trial transcript with the scene as depicted in episode 5
of MAM reveals that Defendants Ricciardi and Demo, in concert with other named Defendants,
heavily edited portions of Plaintiffs testimony in order to manipulate viewers to falsely conclude
that he and other officers planted Halbach’s SUV at the salvage yard. Among other distortions,
Defendants removed Plaintiffs affirmative answer to one question and inserted it as his answer
to a separate question. At the actual trial, the second question remained unanswered after the
Court sustained an objection by the state. MAM’s rendition of the testimony is as follows:

Avery’s Attorney: “Well, you can understand how someone listening to that might think that
you were calling in a license plate that you were looking at on the back end of a 1999 Toyota?”

Plaintiff: “Yes.”
In the actual trial, the Court sustained the state’s objection, and defense counsel rephrased it as |
follows:

Avery’s Attorney: “This call sounded like hundreds of other license plate or registration checks
you have done through dispatch before?”

Plaintiff answered in the affirmative, “Yes.”
Trial Transcript, Day 7, p 186-187

Defendants omitted the Plaintiff's affirmative answer to the second question and inserted it into
his non-answer to the first. Their manipulation of this crucial line of testimony falsely conveyed
to viewers that Plaintiff located Halbach’s SUV somewhere other than at the salvage yard days

earlier and likely assisted other law enforcement officers plant it there at a later time. The

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impression is false and gave to viewers the exact opposite impression of what Plaintiff was asked
and how he responded at trial.

35. Defendants Ricciardi and Demos in concert with other named Defendants omitted
additional trial testimony from Plaintiff about the routine nature of his call to dispatch. When
asked by the prosecutor on redirect examination: “Mr. Strang (defense counsel) asked whether
or not it was common for you to check up on other agencies, or perhaps ’m—I’m mis-phrasing
that, but when you are assisting another agency, do you commonly verify information that’s
provided by another agency?” Plaintiff answered: “All the time. I’m just trying to get — you
know, a lot of times when you are driving a car, you can’t stop and take notes, so I’m trying to
get things in my head. And by calling the dispatch center and running that plate again, it got it in
my head who that vehicle belonged to and what type of vehicle that plate is associated with.”
(Trial Transcript, Day 7, p 213). MAM failed to include this exchange.

36. Defendants Ricciardi and Demos omitted from Plaintiffs call to dispatch his words, “see
if it comes back to [inaudible].” The phrase was included in the actual recording of the call as
well as the recording played at trial. (Trial Trans, Day 7, p 181). Upon information and belief,
Defendants omitted the phrase because it supports a reasonable interpretation of the reason for
Plaintiffs call that contradicts the impressions the defendants intended to make.

37. Defendants Ricciardi and Demos strategically spliced “reaction” shots of plaintiff
appearing nervous and apprehensive at trial into other portions of his testimony where he did not
appear nervous or apprehensive in fact. The edits were part of defendants’ overall attempt to
manipulate viewers to falsely conclude that plaintiff and other Manitowoc County officers
planted Halbach’s SUV at the salvage yard. MAM, Episode 5. In addition, Defendants also

included in MAM Episode 5 an out-of-court interview with Avery defense attorney Jerome

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Buting in which he states, “If they would be willing to go to that length of planting the key,
which I think the jury’s going to get... .” By including this in the broadcast, Defendants
presented it as a foregone conclusion that the police, allegedly including Plaintiff, planted the
key at Avery’s residence.

38. Upon information and belief, Defendants Ricciardi and Demos filmed the entire trial and
were aware of the full line of questioning concerning Plaintiffs call to dispatch, as well as its
significance. With malicious intent, Defendants chose to fabricate Plaintiffs testimony by
splicing and omitting those portions that were not consistent with their misleading and false
account of the facts. In truth, Plaintiff did not discover Halbach’s SUV at another location and
help others plant it on Avery’s property. MAM’s aspersions that he did are false and have
caused irreparable harm to Plaintiffs reputation worldwide.

39. Defendants also included a portion of an interrogation of Steven Avery in which the
interrogating officer says to Avery, “So Tammy told you that somebody told her that a cop put
that vehicle -- Theresa’s vehicle -- out on your property? Avery responds, “Yeah.” The scene
then cuts immediately to a visual of Plaintiff about to testify in Court, implying that he is the
“cop” who allegedly planted Halbach’s vehicle on Avery’s property. MAM, Episode 5.

40. In order to enhance the significance of plaintiff's alleged off-sight discovery and
subsequent planting of Halbach’s vehicle, defendants manipulated facts to convince viewers that
MTSO officers, possibly including the plaintiff, secreted Avery’s blood from a vial still kept in
evidence from his wrongful conviction case, and planted it in Halbach’s car. Defendants
dramatically re-enacted the vial’s “discovery” in the Clerk’s office by accompanying one of
Avery’s lawyers to film the retrieval of the vial. MAM Episode 4 contains a close-up shot of the

blood vial with a small hole on top of its rubber stopper while Avery’s attorneys rejoice in a

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“gotcha” moment. In truth, a hole in a blood vial’s rubber stopper is not indicative of evidence
tampering; it is made in the ordinary course of drawing a blood specimen from a person and
storing it in a vial. The hypodermic needle hole in this case was made when a specimen of
Avery’s blood was drawn by a phlebotomist and stored in the vial in connection with a 1996
post-conviction motion in his wrongful conviction case. The procedure necessarily resulted in
the creation of a hole in the rubber stopper. The phlebotomist who drew the specimen from
Avery in 1996 was prepared to testify that’s what happened in this instance. Having attended the
trial in its entirety, defendants Ricciardi and Demos were aware of the routine nature of the hole
on the vial’s rubber stopper and that the phlebotomist who drew the specimen from Avery was
prepared to testify. Defendants manipulated the facts and the significance of the blood vial’s
discovery as part of their overall effort to convince viewers that plaintiff and other county law
enforcement officers framed Avery for the murder.

The Key

41. Defendants, jointly and severally, with actual malice, led viewers to the inescapable but
false conclusion that Plaintiff and MTSO Lt. James Lenk planted the ignition key for Halbach’s
SUV in Avery’s bedroom. They did so by splicing trial testimony, omitting other testimony, and
failing to include essential photographic evidence that would have given viewers a complete
view of what occurred.

42, On November 8, 2005, three days after Halbach’s vehicle was discovered at the salvage
yard, Plaintiff and MTSO Investigator James Lenk, both evidence technicians, were assigned to
search Avery’s bedroom for evidence more remotely connected to the crime, including
pornographic material. Plaintiff and Lenk were accompanied by Calumet County Deputy Daniel

Kucharski. A previous search of the room on November 5, 2005 yielded handcuffs and leg

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irons, apparent sex toys, and pornographic materials in a bookcase, but not all items were
collected at that time.

43. On November 8, 2005 after materials were returned to the bookcase, the ignition key for
Halbach’s SUV was found on the carpeted floor next to the bookcase. At trial, Plaintiff, Lenk,
and Kucharski each offered a reasonable explanation as to how the key was missed on the earlier
search and miscellaneous entries. All three testified they believed the key had fallen from a
crack in the particle board backing of the bookcase when materials were returned into the
bookcase. They believed Avery hid the key there with plans to retrieve it later and dispose of the
SUV. (Plaintiff: Trial Trans Day 7, p 132; Lenk: Trial Trans Day 8, p 14; Kucharski: Trial
Trans Day 9, p 55).

44. On information and belief, Defendants Ricciardi and Demos were present during this
testimony and viewed certain photographs clearly showing the crack in the back of the bookcase.
The photographs were not shown to viewers of MAM. In addition, testimony from officer
Tyson, the accompanying officer from the initial search on 11/05/2005, was spliced in order to
maximize suspicion that the key was planted and minimize a plausible explanation for how it
came to be found. Jerome Buting, one of Avery’s attorneys, asked officer Tyson the following
question:

“Had you ever, in any other search in your entire career, had to act like a babysitter, or a
watchdog, for the officers who were conducting a search?”
Officer Tyson replied, “I did not treat this as if I was babysitting.” (Trial Trans Day 7, p 25, lines

7-11).

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Defendants Ricciardi and Demos replaced Tyson’s answer with his negative response, “No,” to a
separate question in order to give viewers the exact opposite impression of what Tyson in fact
conveyed. (MAM, Episode 7).

45. Upon information and belief, Defendants Ricciardi and Demos filmed the entire trial and
were aware of the full line of questioning concerning the circumstances of Plaintiff and Lenk
finding Halbach’s ignition key in Avery’s bedroom, as well as its significance. They chose to
fabricate testimony by splicing or omitting those portions not consistent with their false and
defamatory account of the facts. In truth, Plaintiff and Lenk did not plant the key, and MAM’s

aspersions that they did are false and have caused irreparable harm to Plaintiffs reputation.

MAM?’s Omission and Distortion of Material, Significant Evidence and Facts

46. Defendants, jointly and severally, and with actual malice, omitted the following
evidence and facts as part of their effort to lead viewers to falsely conclude that plaintiff and
others framed Avery for Halbach’s murder. Upon information and belief, defendants Ricciardi
and Demos were present for all court proceedings, including pretrial motions and the entire trial,
where all of this information was revealed. Had these material, significant and known facts been
included in MAM, a reasonable viewer would have found Avery’s guilt obvious and would not
have concluded that plaintiff and other law enforcement officers planted evidence to frame him:

« Avery’s DNA was located on the hood latch of Halbach’s vehicle.

¢ Halbach’s cell phone, camera, and PDA computer devices were found in a burn barrel on
Avery’s property. Several hours after Halbach’s arrival at the salvage yard, Avery’s
nephew witnessed Avery carrying a plastic bag and placing it in the burn barrel where
Halbach’s electronics were later found. In addition, a family friend observed smoke and
smell of plastic coming from the same burn barrel. The witness, along with Avery’s
brother, stated that Avery had changed clothes and showered and was acting strange.

¢ The bullet containing Halbach’s DNA was linked to the specific firearm hung on a wall
over Avery’s bed.

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Avery called Halbach’s employer, Auto Trader magazine, on the day she was murdered
and asked them to send a photographer to take a photo of a car he said he was listing for
sale in their magazine. Avery asked the receptionist to send “the same photographer” they
sent last time. Halbach’s co-workers stated that she had been somewhat concerned by
Avery’s approaching her wearing nothing but a towel on at least two of her appointments
with him. Avery placed direct calls to Halbach’s cell phone before she arrived using *67
to hide his identity.

In the early evening, after Halbach’s appointment, Avery’s brother, Earl, observed Avery
near his truck and trailer with Avery’s snowmobile on top. Earl found it strange that
Avery would remove the snowmobile from the trailer and put it in his garage since Earl’s
understanding was that Avery was going to take the snowmobile to a dealer and sell it.
When asked by police about the Suzuki, Earl Avery stated it had been outside the garage
a few days earlier. Avery’s accomplice told police that Avery shot Halbach in his garage.

Avery gave several different statements about his interaction with Halbach on the day she
was murdered. First, that she never arrived for her appointment with him; second, that
she did, but he only saw her through a window in his trailer home and did not speak with
her; third, that she came inside where he paid her; and, finally, that he went outside to her
car and paid her for the photo shoot.

Avery has a history of extreme violence and sexual aggression against women, including
beating, strangulation, death threats, attempted abduction at gunpoint, and allegations of
rape.

47. Defendants Ricciardi and Demos, jointly and in concert with the remaining defendants

and with reckless disregard for the truth, blatantly and absurdly distorted the nature of three of

Avery’s prior crimes. Had the true nature of his past crimes been accurately portrayed, a

reasonable viewer would have been less likely to accept defendants’ wholly false narrative that

plaintiff and other local police officers framed Avery for Halbach’s murder. Upon information

and belief, defendants Ricciardi and Demos had access to the police reports and criminal

complaints associated with each of these crimes and knew of their contents..

Avery was convicted of animal abuse when he was 20 years old. Police reports indicate
that he and another party poured gas and oil on the family’s pet cat, intentionally threw it
in a bonfire, and watched it burn to death. In Episode 1 of MAM, defendants portrayed
the incident as an accident and at worst, a childhood prank.

In 1986, Avery received a six-year prison sentence on convictions for endangering safety
by conduct regardless of life and felon in possession of a firearm in connection with his
running a woman’s car off the road, holding her at gun point and ordering her into his car

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with the apparent intent to rape her. MAM omitted significant details and used edited
portions of depositions to cast Avery as a victim and the victim as a villain for spreading
rumors about him.

- On September 4, 2004, approximately a year before murdering Halbach, Avery was
atrested for assaulting his fiancé, Jodi Stachowski. On information and belief, Defendants
Ricciardi and Demos had access to the police reports concerning the incident and knew of
their contents. The reports indicate that Avery shoved Stachowski causing her to fall into
a chair and hit her head. Avery then struck her numerous times and threatened to kill her.
When Stachowski tried calling 911, Avery ripped the phone out of the wall before she
could report the assault. Avery began strangling her and as she lost consciousness he
dragged her outside to his vehicle. When Stachowski regained consciousness, Avery said:
“T should get the gun and kill you.”

¢ Upon information and belief, Ricciardi and Demos had access to and reviewed the police
reports concerning Avery’s arrest for assaulting Stachowski. They knew what Stachowski
had reported to police, but they chose to omit it because it did not fit with their false
characterization of Avery as a harmless individual unlikely to commit a murder. To
further their storyline, they portrayed Stachowski as unafraid and supportive of Avery
while knowing she was anything but.

48. Defendants also presented material in such a way that the defense conspiracy theories
received the last, apparently unrefuted word, mixing in-court excerpts with out-of-court
statements by defense attorneys in an attempt to portray defense theories and speculation as
actual and unanswered facts. This includes but is not limited to the following:

e Jerome Buting (end of MAM 6): One of the things that the state argued is that it
would have taken a wide-ranging conspiracy of so many people to pull this off and
that there’s just no way this could be possible. But in fact, that’s not true. Really,
two people could have done this easily enough if they had the motive to do it.
Maybe one even. And the whole argument, well why would they risk doing this and
risk getting caught. You have to understand, they probably would have no fear of
ever being caught doing this. You know, who better than a police officer would
know how to frame somebody?

[cuts to video of James Lenk being sworn to testify] [theme music plays]

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MAM 2

49, On October 19, 2018, Defendant Netflix released for purchase to its subscribers
worldwide a sequel to MAM, titled, “Making a Murderer Part 2” (hereinafter MAM2). The ten-
part documentary series was written and directed by Defendants Ricciardi and Demos with
heavy production, post-production and editing involvement by Netflix, which also marketed and
distributed the series.

50. In an article in a film industry publication known as IndieWire, Defendants Ricciardi
and Demos state publicly that Netflix was “a partner from the outset,” in the production of
MAM 2, and that “the project was fully financed from the start.” In the same interview, Ricciardi
and Demos described the story of Steven Avery and Brendan Dassey as “the gift that keeps on
giving.” https://www.indiewire.com/2018/10/making-a-murderer-part-2-interview-steven-avery-
laura-ricciardi-moira-demos-1202013273/

51. Despite widespread criticism in the public domain concerning the falsity of MAM, See,
e.g., https://thedailybanter.com/2016/08/the-steven-avery-deception/ and a petition with 2,967
signatures asking Netflix to remove the original series and cancel its sequel because of its false
portrayal of Avery as a victim of police malfeasance, https://www.change.org/p/netflix-remove-
making-a-murderer-and-cancel-season-2-on-netflix, Defendants doubled down on their baseless
claims of evidence planting in MAM2.

52. In MAM2 episodes 1 and 2, Defendants present Avery’s post-conviction counsel’s
wholly speculative conspiracy theories and unreliable “experiments” as convincing proof that
Plaintiff and his colleagues planted evidence to frame Avery. Episode 1 includes footage of
| presumed associates of Zellner tossing a mannequin smeared with a red substance into the back

of an SUV of the same make and model as Ms. Halbach’s Rav4. Zellner confidently proclaims to

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viewers that based upon the blood spatter pattern that resulted, Avery could not have placed
Halbach’s body into the trunk of her SUV as the prosecution and its experts argued at trial.
MAM2, episode 2 adopts as reliable and convincing evidence a similarly unsound scientific test
known as “brain fingerprinting” as proof that Avery could not have committed the murder.

53. In MAM2, episode 9, Defendants continued the original series’ false claim that plaintiff
planted evidence by embracing as fact the unverified and unreliable account of Kevin Rahmlow.
Rahmlow claimed he had a conversation with Plaintiff at the Cenex gas station in Mishicot on
November 4, 2005, a few days after Ms. Halbach was reported missing and the day before her
vehicle was found at the Avery Salvage Yard.

54. MAM2 tepeats claims by Rahmlow that he told Plaintiff he observed a vehicle matching
the description of Halbach’s SUV a day earlier “by the East Twin River dam in Mishicot at the
turnaround the bridge [sic].” Rahmlow states that Plaintiff had pulled into the Cenex parking lot
in a marked police squad and was in uniform.

55. Plaintiff was off work, not in uniform, and not in a police squad on November 4, 2005.
Nor did he speak with Rahmlow on that date or at any other time concerning Ms. Halbach’s
disappearance. Plaintiff believes his only contact with Rahmlow occurred in September of 2006,
when he arrested Rahmlow for drunken driving.

56. Upon information and belief, Defendants Ricciardi and Demos filmed the entire trial and
were aware that Plaintiff testified he was not working on November 4, 2005 (Trial Trans, Day 7,
p 176-177). They chose to ignore Plaintiffs testimony and adopt as true Rahmlow’s unverified,
unreliable, and false statement to Avery’s attorney instead. By adopting Rahmlow’s story,

Defendants doubled down on the original series’ distortion of Plaintiffs routine call to dispatch,

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and its assertion that Plaintiff participated in a conspiracy to plant Halbach’s vehicle on the
Avery property.

Claims for Relief
Count I —- Defamation — Actual Malice

57. Plaintiff repeats and realleges the allegations of Paragraphs 1 - 56, above, as though fully
set forth herein.

58. Defendants, jointly and severally, acting with actual malice, defamed, libeled and
slandered Plaintiff by their creation, production, distribution, publication, and broadcast of the
documentary, “Making a Murderer.”

59. Defendants’ false statements and communications about Plaintiff include, but are not

limited to, the following statements and communications in the “Making a Murderer” broadcasts:

 

a) The statements described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B,
above.

b) The statements and communications made in the “Making a Murderer” broadcasts,
the transcripts of which are attached hereto as Exhibit A. These statements collectively
communicated to the viewing public the false assertion that Plaintiff was a participant in a
law enforcement conspiracy and scheme to frame Steven Avery for the murder of Teresa
Halbach. Defendants falsely stated and communicated through their broadcast that Plaintiff
planted evidence, including but not limited to, Teresa Halbach’s valet key, her vehicle, and
her bone fragments, her blood, and Avery’s blood and/or DNA, in order to frame allegedly
innocent Defendants or to strengthen their case against them.

c) The words expressly used in the broadcasts are made more defamatory to Plaintiff

because of the Defendants’ omission of information that was essential to a truthful depiction

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of the facts, including, but not limited to, the facts that were omitted as described in

Paragraphs 27-29, 33-40, 44-48, and Exs. A and B, above. Among other things, Defendants

 

included in their broadcasts only one-sided biased interviews that cast police and prosecutors
as villains determined to prosecute and convict Avery for a crime that he did not commit and

cast Avery and his attorneys as heroes.

d) The statements described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B,

 

above, which were false because the statements do not accurately reflect the testimony or
events purported to be recounted by Defendants, as a result of the manipulation of the content

as described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B. Among other things,

 

Defendants selectively edited and spliced trial and deposition testimony and excluded facts

that contradicted their false statements and communications.

60. Defendants knew or had reason to know that the statements were false, but made the
false statements and communications described above with actual malice, intentionally and
knowing that they were false or with reckless disregard for the statements and communications’
truth or falsity. The purported conspiracy and scheme described through Defendants’ false
statements and communications was the product of Defendants’ imagination and Defendants
knew that the statements and communications about the purported conspiracy and scheme were
false.

61. Defendants’ false statements and communications as described above are not mere
statements of opinion, but are definitive declarations of fact provable as either true or false.

62. Defendants’ false statements and communications as described above were
communicated and published to the viewing public in the United States of America and in

additional countries that subscribe to Netflix and/or to which Netflix publications are distributed.

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According to published estimates, more than 19.3 million viewers watched the “Making a
Murderer” series within the first 35 days of its broadcast. ,

63. Defendants’ false statements and communications as described above were not
privileged or exceed.the scope of any alleged privilege because the Defendants, and each of
them, intentionally and knowingly or with reckless disregard for the truth, communicated as facts
statements that were not truthful and accurate regarding the matters asserted and that went
beyond the statements contained in the record of any official proceedings. In addition,
Defendants added their own factual assertions and intermixed them with the records of official
proceedings in a manner that falsely portrayed the record of the proceedings, including, but not

limited to, in the manner described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B, above.

 

64. Defendants’ false statements and communications tended to harm Plaintiff and actually
and irreparably harmed and damaged Plaintiffs reputation, lowering him in the estimation of the
community and subjecting him to hostility, hatred and ridicule, and deterring third persons from
associated or dealing with him in, among others, the following respects:

a) Plaintiffis a devoted husband, parent, decorated United States Air Force veteran, and
dedicated public servant, and enjoyed an impeccable professional reputation prior to
December 18, 2015, when Defendants published their false statements and communications
about him. Since that time, Plaintiff has been subject to worldwide ridicule, contempt and
disdain as a result of the baseless and false assertions in Making of a Murderer.

b) A Google search of Plaintiff's name prior to Defendants’ false statements and
communications about Plaintiff would have revealed two nondescript news articles about
routine local crime that plaintiff had a role in investigating. The same search now yields

more than 1.8 million hits, nearly all of them painting Plaintiff in a negative light. 732

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YouTube videos about Plaintiff's perceived nefarious role in the Avery case have been

produced as a result of Defendants’ false statements and communications.

c) National and international news and entertainment media have published hundreds of
articles, television and radio segments adopting and republishing the Defendants’ false and
defamatory statements and communications about Plaintiff. Social media, including
Facebook, Twitter, YouTube, and Reddit are replete with threats and insults directed at
Plaintiff because of the baseless accusations against Plaintiff made by Defendants.

Countless tweets, memes, and insulting and threatening social media posts portraying

Plaintiff as a corrupt police officer and cooperative in framing Avery have been posted

online.

65. Defendants, jointly and severally, have compounded and aggravated the harm to
Plaintiff's reputation by deliberately ignoring critical analysis in the aftermath of the release of
the Making of a Murderer broadcasts. Thorough, careful, and objective analysis by some
members of the public and a few journalists revealed that the series had badly distorted the facts.
Upon information and belief, Defendants were aware of the critical analysis and could have
taken action to prevent further harm to Plaintiffs reputation by admitting their distortions and
omissions of fact when the above-mentioned articles were published and in the sequel to the
original series, “Making of a Murderer Part 2.” Instead, with actual malice, Defendants doubled
down by distorting and omitting additional facts to bolster their pre-ordained conclusion that
Plaintiff participated in the alleged framing of Avery.

66. Defendants’ false statements and communications were made in an intentional disregard
for the Plaintiff's rights and with ill will toward Plaintiff and as a result of other bad motives,

including, but not limited to, Defendants’ determination to slant and distort the truth to

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sensationalize the facts and circumstances surrounding the investigation of Teresa Halbach’s
murder and the trial of Steven Avery for her murder in order to exploit those events and
circumstances for Defendants’ own economic benefit at the expense of the individuals who were
involved in the investigation and trial.

67. As aresult of the damage to Plaintiffs reputation that was caused by Defendants’ false
statements and communications about Plaintiff, Plaintiff is entitled to damages in a total amount
to be determined at trial, including, but not limited to, general damages; compensatory damages;
special damages, including, but not limited to, lost wages; and punitive damages.

Count II — Negligence (In the Alternative)

68. Plaintiff repeats and realleges the allegations of Paragraphs 1 - 67, above, as though fully
set forth herein.

69. Defendants owed the Plaintiff a duty to exercise reasonable care when making and
communicating statements and communications about Plaintiff.

70. Defendants knew or had reason to know that the statements described in Paragraphs 27-

29, 33-40, 44-48, and Exs. A and B, above were false, but, alternatively to the allegations set

 

forth in Paragraph 60, above, in making and communicating the statements and communications
about Plaintiff, Defendants breached their duty of care to Plaintiff by failing to exercise
reasonable care in ascertaining the truth or falsity of the statements and communications
described above.

71. Defendants’ false statements and communications as described above were
communicated and published to the viewing public in the United States of America and in
additional countries that subscribe to Netflix and/or to which Netflix publications are distributed,

as further described above.

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72. Defendants’ failure to exercise reasonable care in making and communicating the

statements described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B caused damage and

 

 

harm to Plaintiffs reputation as set forth in Paragraph 54 above. Additionally plaintiff has
suffered physical effects such as high blood pressure and anxiety.

73. Defendants’ false statements and communications as described above were not
privileged or exceed the scope of any alleged privilege because the Defendants communicated as
facts statements that were not truthful and accurate regarding the matters asserted and that went
beyond the statements contained in the record of any official proceedings. In addition,
Defendants added their own factual assertions and intermixed them with the records of official
proceedings in a manner that falsely portrayed the record of the proceedings, including, but not

limited to, in the manner described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B, above.

 

74. Defendants knew or had reason to know that the statements were false, but made the
false statements and communications described above with actual malice, intentionally and
knowing that they were false or with reckless disregard for the statements and communications’
truth or falsity. The purported conspiracy and scheme described through Defendants’ false
statements and communications was the product of Defendants’ imagination and Defendants
knew that the statements and communications about the purported conspiracy and scheme were
false.

75. Defendants’ false statements and communications as described above were made in an
intentional disregard of Plaintiff's rights.

76. As aresult of the damage to Plaintiffs reputation that was caused by Defendants’ false
statements and communications about Plaintiff, Plaintiff is entitled to damages in a total amount

to be determined at trial, including, but not limited to, general damages; compensatory damages;

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and special damages, including, but not limited to, lost wages; personal / physical injury, and
punitive damages.
Count III — Intentional Infliction of Emotional Distress

77. Plaintiff repeats and realleges the allegations of Paragraphs 1-76, above, as though fully
set forth herein.

78. Defendants acted intentionally or recklessly in making the statements and

communications as described in Paragraphs 27-29, 33-40, 44-48, and Exs. A and B, above.

 

79. Defendants’ actions and conduct as described above were extreme and outrageous.
Defendants could and should have reasonably foreseen that their false rendering of Plaintiff as a
corrupt police officer who allegedly helped frame an allegedly innocent man would lead to
popular outrage and threats, resulting in extreme emotional distress.

80. As a direct result of Defendants’ actions, conduct, communications and statements as
described above,

a) Plaintiff has received serious and ongoing threats to his and his family’s safety;

b) Plaintiff has been subject to recorded telephone threats, the sheer volume of which fill
the capacity of 28 compact discs;

c) Plaintiff has received numerous late-night telephone calls in which callers have
screamed profanities and threatened to do him physical harm;

d) Avery sympathizers have threatened to kill Plaintiff and members of his family,
kidnap and sodomize him and gang rape Plaintiffs wife;

€) Photo graphs of Plaintiffs children have been posted online by hateful viewers

influenced by Defendants’ communications and statements;

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f) Plaintiffhas had to be more cautious and guarded in nearly every aspect of his life,
including in making travel plans and where he and his wife can eat in public; and
g) Due to the threats of violence and the hostility against him that have been caused by

Defendants’ statements and communications, Plaintiff is required to maintain a state of

hypervigilance at all times and to constantly be alert to potential danger to his family’s

safety.

81. Asa direct result of Defendants’ actions, conduct, communications, and statements and
the foreseeable consequences thereof, Plaintiff suffers and has suffered from severe emotional
distress and anxiety, and exhaustion.

82. As aresult of the foregoing, Plaintiff is entitled to damages in a total amount to be
determined at trial, including, but not limited to, general damages; compensatory damages;
special damages, including but not limited to, lost wages; and punitive damages.
WHEREFORE, PLAINTIFF RESPECTFULLY REQUESTS THE FOLLOWING RELIEF:

A. Damage in a an amount to be determined at trial;

B. Attorneys’ fees and costs incurred in prosecuting this action; and

C. Such other and further relief as may be allowed by law.

Dated this 13" day of June, 2019.
LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.

Attorneys for Plaintiff, Andrew L. Colborn

By: Electronically signed by George Burnett
George Burnett

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